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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


  Civil Action No. 13-cv-02469-RM-MJW

  RANDALL J. HATLEE and
  RONALD L. SWIFT,

  Plaintiffs,

  v.

  CINDY HARDEY,
  BOBBI PRIESTLY,
  MONTE GORE,
  FRED WEGNER, and
  ASHLEIGH OLDS,

  Defendants.

                                  MINUTE ORDER

  Entered by Magistrate Judge Michael J. Watanabe

         It is hereby ORDERED that the Unopposed Motion by Defendant Olds to Extend
  Dispositive Motion Deadline (Docket No. 54) is GRANTED for good cause shown. The
  Scheduling Order (Docket No. 34) is AMENDED such that the dispositive motion
  deadline is extended to December 15, 2014.

  Date: November 20, 2014
